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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              OCALA DIVISION

NATALIE R CABAN,

      Plaintiff,

v.                                                      Case No: 5:20-cv-466-Oc-30PRL

MATTHEW LUCHENBURG and
DEPARTMENT OF CHILDREN AND
FAMILIES,

      Defendants.


                                           ORDER

      THIS CAUSE came on for consideration upon the Report and Recommendation

submitted by Magistrate Judge Philip R. Lammens (Dkt. 9). The Court notes that neither

party filed written objections to the Report and Recommendation and the time for filing

such objections has elapsed.

      After careful consideration of the Report and Recommendation of the Magistrate

Judge in conjunction with an independent examination of the file, the Court is of the

opinion that the Magistrate Judge's Report and Recommendation should be adopted,

confirmed, and approved in all respects.

      ACCORDINGLY, it is therefore, ORDERED AND ADJUDGED:

      1.     The Report and Recommendation (Dkt. 9) of the Magistrate Judge is

             adopted, confirmed, and approved in all respects and is made a part of this

             order for all purposes, including appellate review.
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      2.     Plaintiff’s Motion to Proceed in forma pauperis (Dkt. 3) is DENIED.

      3.     Plaintiff’s Complaint (Dkt. 1) is dismissed.

      4.     The Clerk is directed to close this case.

      DONE and ORDERED in Tampa, Florida, this 2nd day of November, 2020.




Copies Furnished To:
Counsel/Parties of Record




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